       Case 1:20-cv-01225-PX Document 82-4 Filed 03/14/22 Page 1 of 4



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND




                    Plaintiff

                                                          Case No. 1:20-CV-01225-PX




                  Defendants.




       Expert Witness Disclosure Pursuant to Federal Rule of Civil Procedure
                                     26(a)(2)

        Preliminary Statement: There are no retained experts in this case and Defendants’
summary is a good faith summary of anticipated testimony based upon what is presently
known. All experts designated are hybrid experts whose knowledge derives from their
direct experience of the Zoo, not in anticipation of litigation. As such, reports by these
hybrid experts are not required. However, a summary of the anticipated testimony of
each person is provided below:

       1.     Dr. Keith Gold, Chadwell Animal Hospital, 3004 Emmorton Road,
Abingdon, Maryland 21009. Dr. Gold is a Maryland licensed veterinarian who has
treated a wide variety of exotic animals for more than two decades. He has visited the
Zoo for an initial visit, on a separate occasion to treat dental issues in the Himalayan
bears, and then visited the Zoo again in October of 2021. He has also treated several of
the animals from the Zoo at his clinical office.

        Dr. Gold is not a retained expert but is the regular veterinarian for the Zoo. He is
expected to testify that the animals at the Zoo are receiving appropriate husbandry care
and veterinary care, that they are receiving appropriate hydration, nutrition, and
sanitation, and that the enclosures for the animals are appropriate shelters given the
climate and conditions in Cumberland, Maryland. Dr. Gold is familiar with the local
standards of care for Maryland veterinarians and has visited many Maryland animal care
facilities and treated the animals at those facilities, and is familiar with the local
standards applicable to this case. He is expected to opine that the Zoo does not
constitute any sort of offense to public morals as understood by the local communities in
which he works, and therefore does not constitute a nuisance.




                                              1
       Case 1:20-cv-01225-PX Document 82-4 Filed 03/14/22 Page 2 of 4



        2.        Mr. John Carden, present address unknown, is the former head of
Animal Control for Allegany County. He is not a retained expert and has not agreed to
testify in this case, but if called to testify, he would be expected to testify that he has
several years of experience and training as an animal control officer, that he
investigated numerous complaints against Tri State Zoo, almost all of them filed by
PETA. He would be expected to opine that there is no animal abuse or neglect at Tri
State Zoo, based upon his many investigations of the facility and his many leisure
visits to the zoo with his family. He would further be expected to opine that Tri State
Zoo was always found to be in compliance with animal welfare laws every time he
investigated at Tri State. He is familiar with the local standards of public morals in the
Cumberland, Maryland area and would also be expected to testify that the facility is
not an offense to public morals and does not constitute a nuisance.

        3.        Dr. Fred Adams, Route 6 Box 6830, Keyser, West Virginia, is a
veterinarian with decades of experience treating farm animals in the Western
Maryland/West Virginia geographic area. He is not a retained expert and has not
agreed to testify in this case, but if called as a witness, Dr. Adams would be expected
to testify that the farm animals at the Zoo are receiving appropriate husbandry care and
veterinary care, that they are receiving appropriate hydration, nutrition, and sanitation,
and that the enclosures for the animals are appropriate shelters given the climate and
conditions in Cumberland, Maryland. Dr. Adams is familiar with the local standards of
care for Maryland veterinarians and has treated farm animals for many decades, and is
familiar with the local standards applicable to the farm animals in this case. He would
be expected to opine that the Zoo does not constitute any sort of offense to public
morals as understood by the local communities in which he works, and therefore does
not constitute a nuisance.

        4.         Dr. Michael Cranfield, c/o the Maryland Zoo, 1 Safari Place,
Baltimore, Maryland, is a recently retired veterinarian who served the Maryland Zoo
for many years. He is not a retained expert and has not agreed to testify in this case but
if called to testify in this case, he would be expected to testify that he treated the two
Himalayan black bears for dental issues on one occasion and that the dental issues
were appropriately treated and resolved at that time.

        5.       Dr. Gloria McFadden is a veterinarian who is the USDA inspector
for the Zoo and has been the regular inspector for the Zoo and many other Maryland
animal care facilities for many years. Dr. McFadden is not a retained expert but is the
regular veterinarian who inspects the Zoo. She is expected to testify that the animals at
the Zoo are receiving appropriate husbandry care and veterinary care, that they are
receiving appropriate hydration, nutrition, and sanitation, and that the enclosures for
the animals are appropriate shelters given the climate and conditions in Cumberland,
Maryland. Dr. McFadden is familiar with the local standards of care for Maryland
veterinarians and has visited many Maryland animal care facilities and inspected the
animals at those facilities, and is familiar with the local standards applicable to this
case. She is expected to opine that the Zoo does not constitute any sort of offense to
                                              2
       Case 1:20-cv-01225-PX Document 82-4 Filed 03/14/22 Page 3 of 4



public morals as understood by the local communities in which she works and inspects
animals and animal care facilities, and therefore does not constitute a nuisance.

        6.       Dr. Jeffrey Shepherd is a USDA veterinary supervisor who has
recently visited the facility with Dr. McFadden. Dr. Shepherd is not a retained expert
but is the supervisor of the regular veterinarian who inspects the Zoo. He would be
expected to testify that the animals at the Zoo are receiving appropriate husbandry care
and veterinary care, that they are receiving appropriate hydration, nutrition, and
sanitation, and that the enclosures for the animals are appropriate shelters given the
climate and conditions in Cumberland, Maryland, given that there were no deficiencies
noted during his visit to the Zoo with Dr. McFadden.

                                            Respectfully Submitted,



                                                s/Nevin L. Young
                                            Nevin L. Young
                                            Fed Bar. ID No. 28604
                                            170 West Street
                                            Annapolis Maryland 21401
                                            410-353-9210
                                            nyoung@burlingtonyounglaw.com




                                            3
    Case 1:20-cv-01225-PX Document 82-4 Filed 03/14/22 Page 4 of 4



                      CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 15th day of October, 2021, I served
this 26(a)(2)statement upon the counsel and/or parties set forth below,
with all counsel having agreed to service by electronic means, upon:

Adam Abelson, Esquire
Zuckerman Spaeder, LLP
100 East Pratt Street, 24th
FloorBaltimore MD 21202

Marcos Hasbun, Esquire
Justin Cochran, Esquire
101 East Kennedy Blvd.
Tampa Florida 33602

Zeynep Graves, Esquire
Caitlin Hawks, Esquire

James Ersellius, Esquire

PETA Legal Foundation
2154 West Sunset Blvd.
Los Angeles, California 90026



                                              s/Nevin L. Young
                                          Nevin L. Young




                                    4
